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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OFALABAMA
                                 NORTHERN DIVISION

CARLOS CAREY,
AIS #245045,

         Plaintilf,

Y3.
                                                   CASE NO. 2: r4-CV-00681-MHT-WC
PHYLLIS BILLUPS, et al.,

         Defendrnts.


                           JOINT STIPULATION FOR DISMISSAL

         Come now thc parties, pursunt to Rule 41(a)(lXA)(ii), Fed. R. Civ. P., and jointly file this

Joint Stipulation for Dismissal, and respectfirlly request that this honorable Court dismiss the

above-styled action with prejudice.

         Respecttully submitted this U.
                                          -3
                                               d   aay   of May, 2017.


FOR PLANTIFF:                                              FOR DEFENDANT:

                                                           Steven T. Marshall
                                                           Attomey General
Carlos Caley #2450
                                                           Anne Adams (ADA054)
                                                           General Counsel

                                                          /V Bart Harmon
                                                          Bart Harmon GIARI2T)
                                                          Assistant Attomev General
